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                                           #: 4480



                                         Appendix B 1


                     Transferring Forum or        # Of Cases Filed Against
                     Original District Forum               TPG
                            Alabama                           2
                            Arkansas                          4
                           California                         1
                            Colorado                          1
                          Connecticut                         8
                             Florida                          1
                             Georgia                          1
                            Kentucky                          1
                            Louisiana                        17
                              Maine                          22
                         North Carolina                       3
                           New Jersey                        22
                           New York                          58
                              Ohio                            1
                         South Carolina                       1
                           Tennessee                         18
                              Texas                           1
                            Virginia                          1
                           Total Cases                      163




  1
      This Appendix and Appendix A reflect Plaintiffs’ claims against the TPG Defendants that
      have been transferred into the MDL by the Court as of June 6, 2023.
                                                      Case 1:22-md-03044-NGG-MMH                                                   Document 376-4                           Filed 07/28/23                       Page 2 of 4 PageID
                                                                                                                                      Appendix B
                                                                                                                                        #: 4481

                                                                                                                                                                                                                                                                                          Implant
                                                                                                                                                                                                                                                                       Original
                       Plaintiff Name(s)                           MDL Case No.              Transferring Court          Originating Case No.                  Transfer Status
                                                                                                                                                                                 2
                                                                                                                                                                                              Filing Date     Transfer Date      Filing State    Home State                               Surgery
                                                                                                                                                                                                                                                                       District3                 4
                                                                                                                                                                                                                                                                                           State
 1   Albert, Karen                                                 1:23-cv-01965                 USDC, ME                     2:23-cv-00085                    CTO-21, 3/2/23                 2023-02-27         3/16/2023            ME              ME                                    ME
 2   Allen, Cynthia & Cal Ostlund                                  1:23-cv-01693                 USDC, D NJ                   2:23-cv-00705                    CTO-19, 2/17/23                2023-02-07        2023-03-07            NJ              NJ                                    NY
 3   Ames, Marilyn                                                  1:23-cv-02673              USDC, ED NY                    1:23-cv-02673                      Direct Filed                 2023-04-10        2023-04-10            NY              NY                 NY*
 4   Ametrano, John & Angela                                       1:23-cv-02665                USDC, SD NY                   7:23-cv-01749                    CTO-23, 3/17/23                2023-02-28        2023-04-10            NY              NY
 5   Anderson, Carol L. & Gretchen Henkel                          1:23-cv-02950                 USDC, D NJ                   2:23-cv-01445                    CTO-26, 4/12/23                2023-03-14        2023-04-24            NJ              NJ                                     NY
 6   Angers, Patrick J.                                            1:23-cv-00347               USDC, ED NY                    1:23-cv-00347                      Direct Filed                 2023-01-18        2023-01-18            NY              LA                 LA
 7   Anning, Sydney M. & Kevin J. Raidy                        1:23-cv-00939, 1:23-cv-         USDC, ED NY,                  1:23-cv-00939,                     Direct Filed,                 2023-02-07         2/7/2023,            NY              NY                 NY*
                                                                        02310                  USDC, SD NY                    1:23-cv-01045                    CTO-20, 2/27/23                                   3/27/2023
8    Arnaud, Sue & James                                           1:23-cv-00625               USDC, ED NY                    1:23-cv-00625                      Direct Filed                 2023-01-26        2023-01-26            NY             LA                   LA
9    Atwood, Joseph                                                1:23-cv-01955                 USDC, ME                     1:23-cv-00086                    CTO-21, 3/2/23                 2023-02-27        2023-03-23            ME             ME                                      ME
10   Auguillard, John                                              1:23-cv-00976               USDC, ED NY                    1:23-cv-00976                      Direct Filed                 2023-02-07        2023-02-07            NY             LA                  LA*
11   Baker, Robert                                                 1:23-cv-00405               USDC, ED NY                    1:23-cv-00405                      Direct Filed                 2023-01-20        2023-01-20            NY             LA                  LA
12   Baldwin, Johannah D. & Bernard                                1:23-cv-02311                USDC, SD NY                   1:23-cv-01047                    CTO-19, 2/17/23                2023-02-07        2023-03-28            NY            VA, FL
13   Banniza, Larry                                                 1:23-cv-01377              USDC, MD TN                    3:23-cv-00103                    CTO-18, 2/13/23                2023-02-03        2023-03-02            TN             TN
14   Bastien, Myrtha                                                1:23-cv-02943               USDC, D CT                    3:23-cv-00401                    CTO-26, 4/12/23                2023-03-31        2023-04-21            CT             CT                                      CT
15   Baudoin, Arlene & Douglas                                     1:23-cv-00683               USDC, ED NY                    1:23-cv-00683                      Direct Filed                 2023-01-31        2023-01-31            NY             LA                  LA*
16   Beaudin, Leo                                                  1:23-cv-01956                USDC, D ME                    1:23-cv-00087                    CTO-21, 3/2/23                 2023-02-27        2023-03-23            ME             ME                                      ME
17   Beer, Josef & Sheila                                          1:23-cv-02956                 USDC, D NJ                   3:23-cv-01385                    CTO-26, 4/12/23                2023-03-13         4/21/2023            NJ             NJ                                      NY
18   Bellone, Allan & Lucille                                      1:22-cv-06776               USDC, ED NY                    1:22-cv-06776                      Direct Filed                 2022-11-07        2002-11-07            NY             NY                  NY*
19   Berger, Lawrence                                               1:22-cv-06449              USDC, ND GA                    1:22-cv-04043                    CTO-2, 10/21/22                2022-10-07        2022-10-24            GA             GA                                      GA
20   Bindel, Patrice                                                2:22-cv-04142              USDC, ED NY                    2:22-cv-04142                      Direct Filed                 2022-07-14        2022-10-18            NY             NY                  NY*
21   Bourque, Michael & Barbara                                     1:23-cv-03318              USDC, ED NY                    1:23-cv-03318                      Direct Filed                 2023-05-02        2023-05-02            NY             LA                  LA
22   Brady, Garry                                                   1:23-cv-03333              USDC, ED NY                    1:23-cv-03333                      Direct Filed                 2023-05-10        2023-05-10            NY             SC                   SC                  FL
23   Breaux, Ronald and Mary Grace                                  1:23-cv-03274              USDC, ED NY                    1:23-cv-03274                      Direct Filed                 2023-05-01        2023-05-01            NY             LA                  LA
24   Brennan, Robert G.                                             1:23-cv-02463              USDC, ED NY                    1:23-cv-02463                      Direct Filed                 2023-03-30        2023-03-30            NY             NY                  NY*
25   Bukulmez, Sharon                                               1/23/cv-01957                USDC, ME                     1:23-cv-00088                    CTO-21, 3/2/23                 2023-02-27        2023-03-23            ME             ME                                      ME
26   Cadaret, Cheryl & Albert                                       1:23-cv-03512              USDC, ED NY                    1:23-cv-03512                      Direct Filed                 2023-05-10        2023-05-10            NY             VA                  VA
27   Capetola, Anthony & Julianne                                  1:23-cv-02474               USDC, ED NY                    1:23-cv-02474                      Direct Filed                 2023-03-31        2023-03-31            NY             NY                  NY*
28   Carlton, Peggy & Clay                                         1:23-cv-02398               USDC, MD TN                    3:23-cv-00212                    CTO-23, 3/17/23                2023-03-09        2023-03-31            TN             TN
29   Carolina, Laquiesha                                           1:22-cv-06457                USDC, D CO                    1:22-cv-01511                    CTO-1, 10/20/22                2022-06-16        2022-10-25            CO             CO                                      CO
30   Carr, James & Christie                                        1:23-cv-03293               USDC, ED NY                    1:23-cv-03293                      Direct Filed                 2023-05-10        2023-05-10            NY             AR                  AR                  AR
31   Carter, Tamerlane                                             1:23-cv-04143               USDC, ED NY                    1:23-cv-04143                      Direct Filed                 2023-06-05        2023-06-05            NY             TX                  TX
32   Castonguay, Joanne                                            1:23-cv-01958                 USDC, ME                     1:23-cv-00089                    CTO-21, 3/2/23                 2023-02-27        2023-03-23            ME             ME                                      ME
33   Chick, Willis                                                 1:23-cv-01959                 USDC, ME                     1:23-cv-00090                    CTO-21, 3/2/23                 2023-02-27        2023-03-20            ME             ME                                      ME
34   Christie, Todd & Andrea                                       1:23-cv-01694                 USDC, D NJ                   2:23-cv-00709                    CTO-19, 2/17/23                2023-02-07        2023-03-07            NJ             NJ                                      NY
35   Ciasullo, Thomas & Robin                                       1:23-cv-00688              USDC, ED NY                    1:23-cv-00688                      Direct Filed                 2023-01-31        2023-01-31            NY             NJ                  NJ*                 NY
36   Codd, Luann                                                   1:23-cv-01692                 USDC, D NJ                   2:23-cv-00701                    CTO-19, 2/17/23                2023-02-07        2023-03-06            NJ             NJ                                      NY
37   Competiello, Grace & John                                     1:23-cv-00812               USDC, ED NY                    1:23-cv-00812                      Direct Filed                 2023-02-02        2023-02-02            NY             NY                  NY*
38   Constantin, Lloyd                                             1:23-cv-03323               USDC, ED NY                    1:23-cv-03323                      Direct Filed                 2023-05-02        2023-05-02            NY             LA                  LA
39   Costello, Stanley                                             1:23-cv-01966                 USDC, ME                     2:23-cv-00091                    CTO-21, 3/2/23                 2023-02-27        2023-03-16            ME             ME                                      ME
40   Cullum, Robert J.                                             1:22-cv-07789                USDC, SD NY                   1:22-cv-10154                    CTO-10, 12/6/22                2022-11-30        2022-12-21            NY             NY
41   Davis, Jason R.                                               1:23-cv-01314               USDC, ED NY                    1:23-cv-01314                      Direct Filed                 2023-02-17        2023-02-17            NY             NC                  NC*                 NC
42   Deutsch, Rivkah & Jacob                                       1:23-cv-00325                USDC, SD NY                   7:22-cv-10790                    CTO-13, 1/6/23                 2022-12-21        2023-02-02            NY             NY
43   D'Orazio, Sante                                                1:23-cv-03424              USDC, ED NY                    1:23-cv-03424                      Direct Filed                 2023-05-05        2023-05-05            NY             NY                  NY
44   Dos Santos, Sarah                                             1:23-cv-01754                 USDC, ME                     1:23-cv-00082                    CTO-20, 2/27/23                2023-02-24        2023-03-10            ME             ME                                      ME
45   Drake, Mildred                                                 1:23-cv-00796              USDC, ED NY                    1:23-cv-00796                      Direct Filed                 2023-02-02        2023-02-02            NY             PA                  NY*
46   Dumeny, Ricky                                                 1:23-cv-01960                 USDC, ME                     1:23-cv-00092                    CTO-21, 3/2/23                 2023-02-27        2023-03-20            ME             ME                                      ME
47   Dunleavy, Paul & Wendy                                        1:22-cv-06987                 USDC, D NJ                   3:22-cv-06305                    CTO-5, 11/3/22                 2022-10-27        2022-11-15            NJ             NJ                                      NY
48   Dunn, Patrick                                                 1:23-cv-01967                 USDC, ME                     2:23-cv-00093                    CTO-21, 3/2/23                 2023-02-27        2023-03-16            ME             ME                                      ME
49   Eccles, Robert                                                1:23-cv-01968                 USDC, ME                     2:23-cv-00094                    CTO-21, 3/2/23                 2023-02-27        2023-03-16            ME             ME                                      ME
50   Ehrbar, Barbara                                               1:23-cv-01437               USDC, ED NY                    1:23-cv-01437                      Direct Filed                 2023-02-23        2023-02-23            NY             NY                  NY*
51   Euler, Cheryl & Scott                                         1:23-cv-00624               USDC, ED NY                    1:23-cv-00624                      Direct Filed                 2023-01-27        2023-01-27            NY             TN                  TN
52   Florio, Carol                                                 1:23-cv-00913               USDC, ED NY                    1:23-cv-00913                      Direct Filed                 2023-02-06        2023-02-06            NY             NY                  NY*
53   Florio, John & Virginia                                       1:23-cv-01932               USDC, ED NY                    1:23-cv-01932                      Direct Filed                 2023-03-14        2023-03-14            NY             NY                  NY*
54   Francia, Richard                                              1:23-cv-03927                USDC, D CT                    3:23-cv-00471                    CTO-29, 5/18/23                2023-04-14        2023-05-31            CT             CT                                      NY
2. Any cases that were directly filed in the MDL are classified as “Direct Filed.” All other cases are classified as “CTO” along with a citation to the relevant Conditional Transfer Orders transferring these cases into the MDL.

3. Pursuant to this Court’s Direct Filing Order “any Plaintiff who files a complaint directly in this Court … shall designate in the Master Short Form Complaint the federal district in which the complaint should be deemed to have otherwise been originally filed absent this Direct Filing
Order (hereinafter, the ‘Original District’).” ECF No. 74 at 2. The “Original District” column is therefore populated only for Plaintiffs who filed directly in the MDL. Certain of those Plaintiffs either did not identify an “Original District” or identified more than one “Original District.”
These Plaintiffs have been identified with an asterisk (*). For purposes of this analysis only and reserving all rights, the TPG Defendants assume the “Original District” would be the state the Plaintiff resided in at the time of filing.

4. The “Implant Surgery State” column is populated only for Plaintiffs who filed in forums where the situs of injury may be relevant for the choice-of-law analysis. See App’x A (identifying such states). One Plaintiff did not indicate the location of the implant surgery as directed in the
Short Form Complaint. This Plaintiff has been identified with a double asterisk (**) and for purposes of this analysis only and reserving all rights, the TPG Defendants assume the implant surgery location is the state the Plaintiff resided in at the time of filing.
                                           Case 1:22-md-03044-NGG-MMH                       Document 376-4            Filed 07/28/23             Page 3 of 4 PageID
                                                                                               Appendix B
                                                                                                 #: 4482

                                                                                                                                                                                                       Implant
                                                                                                                                                                                           Original
                     Plaintiff Name(s)         MDL Case No.    Transferring Court   Originating Case No.   Transfer Status
                                                                                                                             2
                                                                                                                                 Filing Date   Transfer Date   Filing State   Home State               Surgery
                                                                                                                                                                                           District3          4
                                                                                                                                                                                                        State
 55   Gallagher, Kevin                         1:23-cv-01018     USDC, ED NY           1:23-cv-01018         Direct Filed        2023-02-07     2023-02-07         NY            NC          NC*         NY
 56   Gardner, LaDonna & Jamaron Martin        1:23-cv-01378     USDC, MD TN           3:23-cv-00115       CTO-18, 2/13/23       2023-02-07     2023-03-16         TN            TN
 57   Giamundo, Criselda                       1:23-cv-01008     USDC, ED NY           1:23-cv-01008         Direct Filed        2023-02-07     2023-02-07         NY            NY          NY*
 58   Giordano, Michael & Catherine            1:23-cv-03925      USDC, D CT           3:23-cv-00457       CTO-29, 5/18/23       2023-04-11     2023-06-05         CT            CT                      NY
 59   Glass, Leneatha Carole & Steven          1:22-cv-07408     USDC, MD TN           3:22-cv-00894        CTO-6, 11/9/22       2022-11-07     2022-12-07         TN            TN
 60   Golly, Lisa                              1:23-cv-00343     USDC, ED NY           1:23-cv-00343         Direct Filed        2023-01-18     2023-01-18         NY            LA          LA
 61   Gordon, Mark                             1:23-cv-01755       USDC, ME            1:23-cv-00083       CTO-20, 2/27/23       2023-02-24     2023-03-10         ME            ME                      ME
 62   Grogan, Gary & Eileen                    1:23-cv-01695      USDC, D NJ           2:23-cv-00711       CTO-19, 2/17/23       2023-02-07     2023-03-07         NJ            NJ                      NY
 63   Hannan, Daniel T. & Christina            1:23-cv-01575     USDC, ED NY           1:23-cv-01575         Direct Filed        2023-02-28     2023-02-28         NY            NY          NY*
 64   Hargrave, Pamala G. & Richard O.         1:23-cv-03935     USDC, SD NY           7:23-cv-03034       CTO-29, 5/18/23       2023-04-11     2023-05-18         NY            NY
 65   Harrison, Danny & Phyllis                1:23-cv-03157     USDC, ED NY           1:23-cv-03157         Direct Filed        2023-04-26     2023-04-26         NY            NC          NC          OH
 66   Hassell III, Alvin David & Leticia       1:23-cv-02972     USDC, MD TN           3:23-cv-00281       CTO-26, 4/12/23       2023-03-28     2023-05-23         TN            TN
 67   Hilson, William Edwin                    1:23-cv-03926      USDC, D CT           3:23-cv-00469       CTO-29, 5/18/23       2023-04-14     2023-05-30         CT            CT                      NY
 68   Hoff, Chet & Elizabeth                   1:23-cv-03822     USDC, ED NY           1:23-cv-03822         Direct Filed        2023-05-22     2023-05-22         NY            NY          NY
 69   Hoffman, Joan                            1:23-cv-01709     USDC, ED NY           1:23-cv-01709         Direct Filed        2023-03-06     2023-03-06         NY            NY          NY*
 70   Hofmann, Ryan & Marina                   1:23-cv-03485     USDC, ED NY           1:23-cv-03485         Direct Filed        2023-05-09     2023-05-09         NY            NY          NY
 71   Holzhauser, Lawrence & Elizabeth         1:23-cv-03725     USDC, ED NY           1:23-cv-03725         Direct Filed        2023-05-18     2023-05-18         NY            CA          CA
 72   Hursey, Billy                            1:22-cv-07893     USDC, MD TN           3:22-cv-01020       CTO-12, 12/20/22      2022-12-14     2023-01-05         TN            TN
 73   Hyde, Holly                              1:23-cv-01970      USDC, ME             2:23-cv-00096        CTO-21, 3/2/23       2023-02-27     2023-03-16         ME            ME                      ME
 74   Johns, Ella Trappey & Robert Regan       1:23-cv-03398     USDC, ED NY           1:23-cv-03398         Direct Filed        2023-05-08     2023-05-08         NY            LA          LA
 75   Kilgore, Kenneth                         1:23-cv-03626     USDC, ED NY           1:23-cv-03626         Direct Filed        2023-05-15     2023-05-15         NY            TN          FL
 76   Kirsch, Harry & Nechama                  1:23-cv-03937     USDC, SD NY           7:23-cv-03039       CTO-29, 5/18/23       2023-04-11     2023-05-18         NY            NY
 77   Kolinski, Alison                         1:23-cv-02314     USDC, SD NY           7:23-cv-01049       CTO-19, 2/17/23       2023-02-07     2023-03-27         NY            NY
 78   Komin, Hanna & David                     1:23-cv-03930      USDC, D NJ           3:23-cv-02013       CTO-29, 5/18/23       2023-04-10     2023-05-26         NJ            NJ                      NY
 79   Kraus, Andrew & Donna                    1:23-cv-02967     USDC, SD NY           1:23-cv-02065       CTO-26, 4/12/23       2023-03-13     2023-04-28         NY            NY
 80   La Rosa, Bridget & James Majeski         1:23-cv-00835     USDC, ED NY           1:23-cv-00835         Direct Filed        2023-02-03     2023-02-03         NY            CT          CT*         NY
 81   Laks, Isidore                            1:23-cv-01697      USDC, D NJ           2:23-cv-00714       CTO-19, 2/17/23       2023-02-07     2023-03-07         NJ            NJ                      NY
 82   LaPoint, Darrell & Melinda               1:23-cv-00701     USDC, ED NY           1:23-cv-00701         Direct Filed        2023-01-31     2023-01-31         NY            LA          LA
 83   Latiolais, Kathleen                      1:23-cv-00426     USDC, ED NY           1:23-cv-00426         Direct Filed        2023-01-20     2023-01-20         NY            LA          LA
 84   Leddy, Brendan & Patricia                1:23-cv-00929     USDC, ED NY           1:23-cv-00929         Direct Filed        2023-02-06     2023-02-06         NY            NY          NY
 85   Lempner, Robert W. & Kathleen            1:23-cv-04142     USDC, ED NY           1:23-cv-04142         Direct Filed        2023-06-05     2023-06-05         NY            OH          OH          OH
 86   Leto, Peter & Tracy                      1:23-cv-03929      USDC, D NJ           2:23-cv-02031       CTO-29, 5/18/23       2023-04-10     2023-05-30         NJ            NJ                      NY
 87   Lewis, Ronald & Lisa                     1:23-cv-00804     USDC, ED NY           1:23-cv-00804         Direct Filed        2023-02-02     2023-02-02         NY            NY          NY*
 88   Lueders, Carl                            1:23-cv-01969      USDC, ME             2:23-cv-00095        CTO-21, 3/2/23       2023-02-27     2023-03-16         ME            ME                      ME
 89   Maguire, Martin & Margaret               1:23-cv-00714     USDC, ED NY           1:23-cv-00714         Direct Filed        2023-01-31     2023-01-31         NY            NY          NY*
 90   Mancini, Kathleen & Thomas R.            1:23-cv-02378       USDC, NJ            2:23-cv-01170       CTO-23, 3/17/23       2023-02-28     2023-03-29         NJ            NJ                      NY
 91   Mank, Richard                            1:23-cv-01961      USDC, ME             1:23-cv-00097        CTO-21, 3/2/23       2023-02-27     2023-03-20         ME            ME                      ME
 92   Marinello, Michelle                      1:23-cv-02964       USDC, NJ            3:23-cv-01388       CTO-26, 4/12/23       2023-03-13     2023-04-21         NJ            NJ                      NY
 93   Martin, Dena                             1:23-cv-01971      USDC, ME             2:23-cv-00098        CTO-21, 3/2/23       2023-02-27     2023-03-16         ME            ME                      ME
 94   Masi, Daniel & Diane                     1:23-cv-02381       USDC, NJ            2:23-cv-01172       CTO-23, 3/17/23       2023-02-28     2023-03-30         NJ            NJ                      NY
 95   Matchett, Christopher & Rebecca          1:22-cv-06428     USDC, SD NY           1:22-cv-05864       CTO-1, 10/20/22       2022-07-09     2022-10-24         NY            NY
 96   Matthews, Donnie & Donna                 1:23-cv-02973     USDC, MD TN           3:23-cv-00282       CTO-26, 4/12/23       2023-03-28     2023-05-23         TN            TN
 97   Mayo, Andrew                             1:23-cv-01698      USDC, D NJ           2:23-cv-00712       CTO-19, 2/17/23       2023-02-07     2023-03-07         NJ            NJ                      NY
 98   McClean, Robert K.                       1:23-cv-02969     USDC, SD NY           1:23-cv-02826       CTO-26, 4/12/23       2023-04-04     2023-04-28         NY            NY
 99   McDermott, Lucia B.                      1:23-cv-02942     USDC, SD AL           1:23-cv-00118       CTO-26, 4/12/23       2023-04-06     2023-04-21         AL            AL                      AL
100   McGear, Cynthia & Chester                1:23-cv-02139     USDC, ED AR           4:23-cv-00168       CTO-22, 3/10/23       2023-03-03     2023-03-21         AR            AR                     AR**
101   Mitchell, Nancy                          1:23-cv-01962      USDC, ME             1:23-cv-00099        CTO-21, 3/2/23       2023-02-27     2023-03-20         ME            ME                      ME
102   Monaco, Charles & Ninon Trudell          1:23-cv-01900     USDC, ED NY           1:23-cv-01900         Direct Filed        2023-03-13     2023-03-13         NY            NY          NY*
103   Moore, Angelette Waters & Victor         1:23-cv-01696      USDC, D NJ           2:23-cv-00713       CTO-19, 2/17/23       2023-02-07     2023-03-07         NJ            NJ                      NY
104   Moore, Robert & Amy                      1:23-cv-01376     USDC, MD TN           3:23-cv-00102       CTO-18, 2/13/23       2023-02-03     2023-03-02         TN            TN
105   Morgan, Anthony & Emily                  1:23-cv-01024     USDC, ED NY           1:23-cv-01024         Direct Filed        2023-02-08     2023-02-08         NY            LA          LA*
106   Murphy, Jacqueline & Thomas              1:23-cv-00718     USDC, ED NY           1:23-cv-00718         Direct Filed        2023-01-31     2023-01-31         NY            NY          NY*
107   Nuzzo, Keith                             1:23-cv-01963      USDC, ME             1:23-cv-00100        CTO-21, 3/2/23       2023-02-27     2023-03-16         ME            ME                      ME
108   Overton, Nathan & Patricia               1:23-cv-03669     USDC, MD TN           3:23-cv-00435        CTO-28, 5/9/23       2023-05-02     2023-05-09         TN            TN
109   Perez, Miroslabia                        1:22-cv-06456     USDC, SD NY           1:22-cv-05863       CTO-1, 10/20/22       2022-07-09     2022-10-25         NY            NY
                                          Case 1:22-md-03044-NGG-MMH                       Document 376-4                    Filed 07/28/23                 Page 4 of 4 PageID
                                                                                              Appendix B
                                                                                                #: 4483

                                                                                                                                                                                                                   Implant
                                                                                                                                                                                                       Original
                     Plaintiff Name(s)        MDL Case No.    Transferring Court   Originating Case No.         Transfer Status
                                                                                                                                  2
                                                                                                                                            Filing Date   Transfer Date   Filing State   Home State                Surgery
                                                                                                                                                                                                       District3          4
                                                                                                                                                                                                                    State
110   Plaisance, Cindy                        1:23-cv-01374     USDC, ED LA           2:23-cv-00456               CTO-18, 2/13/23           2023-02-06     2023-02-24         LA             LA
111   Poussard, Roland                        1:23-cv-01972       USDC, ME            2:23-cv-00101               CTO-21, 3/2/23            2023-02-27     2023-03-16         ME            ME                       ME
112   Poynor, Karen & Brian                   1:23-cv-02899     USDC, ED NY           1:23-cv-02899                 Direct Filed            2023-04-19     2023-04-19         NY             TN          TN
113   Pravin, Faina                           1:22-cv-06086      USDC, D CT           3:22-cv-00682       Initial Transfer Order, 10/7/22   2022-05-19     2022-10-18         CT             CT                      CT
114   Prime, Hedwig                           1:23-cv-03934     USDC, ND NY           3:23-cv-00447               CTO-29, 5/18/23           2023-04-11     2023-05-30         NY             NY
115   Proscia, Christopher & Rosemary         1:22-cv-07165     USDC, ED NY           1:22-cv-07165                 Direct Filed            2022-11-23     2022-11-28         NY            NY           NY*
116   Reilly, John & Eileen McCauley          1:23-cv-03443     USDC, ED NY           1:23-cv-03443                 Direct Filed            2023-05-08     2023-05-08         NY            NY           NY
117   Reyes, Carmen M.                        1:23-cv-02664     USDC, SD NY           1:23-cv-01746               CTO-23, 3/17/23           2023-02-28     2023-04-10         NY         Puerto Rico
118   Reynolds, Frank & Jody                  1:23-cv-02379       USDC, NJ            2:23-cv-01171               CTO-23, 3/17/23           2023-02-28     2023-03-30         NJ             NJ                      NY
119   Rhodes, Gregory                         1:23-cv-01577     USDC, ED NY           1:23-cv-01577                 Direct Filed            2023-02-28     2023-02-28         NY             AL          AL*         AL
120   Rich, Anders & Sasha Nanus              1:23-cv-02968     USDC, SD NY           1:23-cv-02714               CTO-26, 4/12/23           2023-03-31     2023-04-28         NY             NY
121   Roberts, Jeffrey & Lynn                 1:23-cv-02907     USDC, ED NY           1:23-cv-02907                 Direct Filed            2023-04-19     2023-04-19         NY             TN          TN
122   Rohrer, Maretta & John                  1:23-cv-03939     USDC, MD TN           3:23-cv-00355               CTO-29, 5/18/23           2023-04-14     2023-05-30         TN             TN
123   Roman, Victor M. & Romona               1:23-cv-02944       USDC, CT            3:23-cv-00403               CTO-26, 4/12/23           2023-03-31     2023-04-24         CT             CT                      CT
124   Rosato, Patrice & Daniel                1:23-cv-02382       USDC, NJ            2:23-cv-01201               CTO-23, 3/17/23           2023-03-01     2023-03-30         NJ             NJ                      NY
125   Ross, Mary Christina                    1:22-cv-07407     USDC, MD TN           3:22-cv-00928               CTO-9, 11/18/22           2022-11-15     2022-12-07         TN             LA
126   Rotchford, Janet & Philip               1:23-cv-03427     USDC, ED NY           1:23-cv-03427                 Direct Filed            2023-05-05     2023-05-05         NY             NJ           NJ         NY
127   Rozenberg, Dina & Alex                  1:23-cv-03150     USDC, ED NY           1:23-cv-03150                 Direct Filed            2023-04-26     2023-04-26         NY            NY           NY
128   Ryan, Thomas & Kathy                    1:23-cv-03727     USDC, ED NY           1:23-cv-03727                 Direct Filed            2023-05-18     2023-05-18         NY             NJ          NY
129   Scafidi, Vincent Jr.                    1:23-cv-00720     USDC, ED NY           1:23-cv-00720                 Direct Filed            2023-01-31     2023-01-31         NY            NY           NY*
130   Schieler, Charles                       1:23-cv-04079     USDC, ED NY           1:23-cv-04079                 Direct Filed            2023-06-01     2023-06-01         NY            NY           NY
131   Schrott, Susan & Jonathan               1:22-cv-07633     USDC, ED NY           1:22-cv-07633                 Direct Filed            2022-12-15     2022-12-16         NY            NY           NY*
132   Sekula, Abraham & Rachel                1:23-cv-00866     USDC, ED NY           1:23-cv-00866                 Direct Filed            2023-02-04     2023-02-04         NY            NY           NY*
133   Sellers, Debra & Angela Thomas          1:23-cv-00495     USDC, ED NY           1:23-cv-00495                 Direct Filed            2023-01-24     2023-01-24         NY             LA          LA
134   Sentz, Robert & Colleen                 1:23-cv-02385     USDC, MD TN           1:23-cv-00012               CTO-23, 3/17/23           2023-03-07     2023-03-31         TN             TN
135   Sherry, Gerard                          1:23-cv-02480     USDC, ED NY           1:23-cv-02480                 Direct Filed            2023-03-31     2023-03-31         NY            NY           NY*
136   Siegel, Stuart                          1:23-cv-02971     USDC, SD NY           7:23-cv-02740               CTO-26, 4/12/23           2023-03-31     2023-04-28         NY             NY
137   Silatchom Foyou, Francois De Paul       1:23-cv-00933     USDC, ED NY           1:23-cv-00933                 Direct Filed            2023-02-06     2023-02-06         NY            NY           NY
138   Simpson, Donna                          1:23-cv-01756      USDC, D ME           2:23-cv-00084               CTO-20, 2/27/23           2023-02-24     2023-03-10         ME            ME                       ME
139   Slon, Jonathan & Renee                  1:23-cv-04028     USDC, ED NY           1:23-cv-04028                 Direct Filed            2023-05-31     2023-05-31         NY            NY           NY
140   Smotherman, Glenda & Horace             1:23-cv-04159     USDC, ED NY           1:23-cv-04159                 Direct Filed            2023-06-06     2023-06-06         NY             TN          TN
141   St. Julien, Alzina & Curtis             1:23-cv-03190     USDC, ED NY           1:23-cv-03190                 Direct Filed            2023-04-27     2023-04-27         NY             LA        LA*, DE*
142   Taylor, Julian & Barbara                1:22-cv-06819     USDC, ED AR           4:22-cv-01020               CTO-4, 10/26/22           2022-10-21     2022-11-08         AR             AR                      AR
143   Teatom, James                           1:22-cv-06022     USDC, ED NY           1:22-cv-06022                 Direct Filed            2022-10-07     2022-10-18         NY            NY           NY*
144   Tester, Sandra & Morris                 1:22-cv-07222     USDC, ED AR           4:22-cv-01100               CTO-9, 11/18/22           2022-11-15     2022-11-29         AR             AR                      AR
145   Tujague, Jr., John                      1:23-cv-03724     USDC, ED NY           1:23-cv-03724                 Direct Filed            2023-05-18     2023-05-18         NY             LA          LA
146   Turner, Karen                           1:23-cv-00723     USDC, ED NY           1:23-cv-00723                 Direct Filed            2023-01-31     2023-01-31         NY            KY           KY*         TN
147   Varneckas, Elaine                       1:23-cv-02953       USDC, NJ            2:23-cv-01507               CTO-26, 4/12/23           2023-03-17     2023-04-24         NJ             NJ                      NY
148   Veilleux, Eugene                        1:23-cv-01973       USDC, ME            2:23-cv-00102               CTO-21, 3/2/23            2023-02-27     2023-03-16         ME            ME                       ME
149   Veneziano, Pasquale & Cynthia           1:23-cv-01699      USDC, D NJ           2:23-cv-00715               CTO-19, 2/17/23           2023-02-07     2023-03-07         NJ             NJ                      NY
150   von Euler, Sharon & Bjorn               1:22-cv-07197     USDC, SD NY           1:22-cv-09495               CTO-7, 11/14/22           2022-11-07     2022-11-28         NY             NJ
151   Wachsler, Susanna                       1:23-cv-02315     USDC, SD NY           1:23-cv-01048               CTO-19, 2/17/23           2023-02-07     2023-03-27         NY             NY
152   Wall, Lynda                             1:23-cv-02948      USDC, D NJ           2:23-cv-01389               CTO-26, 4/12/23           2023-03-13     2023-04-21         NY             NJ
153   Walsh, Susan & Michael                  1:23-cv-02949      USDC, D NJ           2:23-cv-01396               CTO-26, 4/12/23           2023-03-13     2023-04-24         NY             NJ
154   Walsh, Thomas & Maryann                 1:23-cv-03107     USDC, ED NY           1:23-cv-03107                 Direct Filed            2023-04-24     2023-04-24         NY            NY           NY
155   Watkins, Patrick & Donna                1:23-cv-03668     USDC, MD TN           3:23-cv-00328               CTO-28, 5/9/23            2023-04-13     2023-05-22         TN             TN
156   White, Lori & Doug                      1:23-cv-02974     USDC, MD TN           3:23-cv-00283               CTO-26, 4/12/23           2023-03-28     2023-04-24         TN             OK
157   Wills, Stanley                          1:23-cv-01964       USDC, ME            1:23-cv-00103               CTO-21, 3/2/23            2023-02-27     2023-03-16         ME            ME                       ME
158   Witek, Pier & Michael                   1:23-cv-00337     USDC, ED NY           1:23-cv-00337                 Direct Filed            2023-01-18     2023-01-18         NY            NY           NY*
159   Yegparian, Aznive & Vram                1:23-cv-03931      USDC, D NJ           3:23-cv-02029               CTO-29, 5/18/23           2023-04-10     2023-05-26         NJ             NJ                      NY
160   Yeotsas, Helen & Dimitri                1:23-cv-00877     USDC, ED NY           1:23-cv-00877                 Direct Filed            2023-02-05     2023-02-05         NY             CT          CT*         CT
161   Young-Borra, Paula                      1:23-cv-01375     USDC, SD NY           7:23-cv-01040               CTO-18, 2/13/23           2023-02-07     2023-02-24         NY            NY
162   Yuzzi, Jacqueline                       1:23-cv-01700     USDC, ND NY           3:23-cv-00180               CTO-19, 2/17/23           2023-02-09     2023-03-06         NY             NY
163   Zaremba, William & Katherine            1:23-cv-02966     USDC, SD NY           1:23-cv-02055               CTO-26, 4/12/23           2023-03-10     2023-04-24         NY             NY
